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               IN THE UNITED STATES DISTRICT COURT FOR THE
                      NORTHERN DISTRICT OF FLORIDA
                          TALLAHASSEE DIVISION



KIRK NIELSEN et al.,

                   Plaintiffs,
                                                CONSOLIDATED
v.                                              CASE NO. 4:20cv236-RH-MJF

RON DESANTIS et al.,

          Defendants.
___________________________________________________/


                ORDER DISMISSING ACACIA WILLIAMS’S CLAIMS


         One of the plaintiffs, Acacia Williams, has filed a notice of dismissal of her

claims, purportedly under Federal Rule of Civil Procedure 41(a)(1)(A)(i). The

United States Court of Appeals for the Eleventh Circuit has held that Rule 41(a)(1)

addresses the dismissal of entire actions, not claims by or against only some

parties. See Perry v. Schumacher Grp. of La., 891 F.3d 954 (11th Cir. 2018). But

Ms. Williams’s notice of voluntary dismissal constitutes an abandonment of her

claims in this action. Upon consideration,

         IT IS ORDERED:

         Ms. Williams’s claims are dismissed without prejudice. I do not direct the


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entry of judgment under Federal Rule of Civil Procedure 54(b).

         SO ORDERED on June 2, 2020.

                                     s/Robert L. Hinkle
                                     United States District Judge




Case No: 4:11cv45-RH/WCS
